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                   IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                             SAN ANTONIO DIVISION
                                       §
GLOBAL WEATHER PRODUCTIONS, LLC        §
                                       §
                 Plaintiff,            §
           v.                          §
                                       § Case No: 5:23-cv-01350-JKP-ESC
JOE PAGS MEDIA, LLC                    §
                                       §
                                       §
                Defendant.
                                       §
                                       §

                             [PROPOSED] DEFAULT JUDGMENT

       Upon consideration of the Plaintiff’s motion for default judgment under Rule 55.2(b)(2) of

the Federal Rules of Civil Procedure and the declarations of plaintiff’s counsel Craig B. Sanders

and exhibits attached thereto, and upon all prior papers and proceedings filed herein, it is hereby:

       ORDERED, ADJUDGED and DECREED that:

       1.      Default judgment as to liability for copyright infringement under 17 U.S.C. § 501 be

               entered against defendant Joe Pags Media, LLC (“Defendant”);

       2.      Defendant is to pay $30,000.00 in statutory damages under 17 U.S.C. § 504(c) for

               willful copyright infringement;

       3.      Defendant is to pay $1400.00 in attorneys’ fees and $440.00 in costs under 17 U.S.C.

               § 505.

       4.      Defendant is to pay post-judgment interest under 28 U.S.C.A. § 1961;

       5.      the Court retains jurisdiction over any matter pertaining to this judgment;

       6.      this case is dismissed and the Clerk of the Court shall remove it from the Court

               docket.
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 San Antonio, TX

 Dated: ________________, _____           SO ORDERED:



                                          ______________________________
                                          Hon. Jason K. Pulliam (U.S.D.J.)
